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                            UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                    BEAUMONT DIVISION



 UNITED STATES OF AMERICA                        §
                                                 §
 VS.                                             §           9:04-CR-20-7
                                                 §
 LAWRENCE PENNINGTON                             §



             MEMORANDUM ORDER ADOPTING THE MAGISTRATE JUDGE'S
                      REPORT AND RECOMMENDATION


        The court heretofore ordered that this matter be referred to the Honorable Earl S. Hines,

 United States Magistrate Judge, at Beaumont, Texas, for consideration pursuant to applicable laws

 and orders of this court. The court has received and considered the Report of the United States

 Magistrate Judge filed pursuant to such order, along with the record, pleadings and all available

 evidence.


        At the close of the revocation hearing, defendant, defense counsel and counsel for the

 government, each signed a standard form waiving their right to object to the proposed findings and

 recommendations contained in the magistrate judge's report, consenting to revocation of supervised

 release and imposition of the sentence recommended therein, and waived their right to be present

 with counsel and to speak at sentencing.


        Accordingly, the findings of fact and conclusions of law of the magistrate judge are correct

 and the report of the magistrate judge is ADOPTED. It is therefore
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        ORDERED and ADJUDGED that the petition is GRANTED and defendant's supervised

 release is REVOKED. Judgment and commitment will be entered separately, in accordance with

 the magistrate judge’s recommendations.


  So ORDERED and SIGNED this 13 day of April, 2006.




                                            ___________________________________
                                            Ron Clark, United States District Judge
